                                                              Camp Lejeune Water Litigation Monthly Time Report


           Firm Name:
                 Date:

Categories: 1. Leadership Case Management Duties 2. Leadership calls/meetings 3. Admin 4. Court appearances 5. Pleadings/Briefing 6. Research 7. Litigation strategy
8. Doc review & analysis 9. Discovery 10. Experts 11. Settlement 12. Trial prep 13. Trial 14. Appeal 15. Miscellaneous

                           Professional
                          Level: Partner
                         (PT), Associate                                                                                                Co-Lead Counsel Who                    Time Spent
                                                             Category
  Last Name, First Name (A), Contract (C), Date of Service                          Detailed Description of Work Performed              Assigned Or Approved    Billing Rate      (by 0.1    Fees Total
                                                              Code
                           Of Counsel                                                                                                           Work                           increments)
                             (OC), or
                         Paralegal (PR)




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                                                          Camp Lejeune Water Litigation Monthly Expense Report

             Firm Name:
                   Date:

Categories: 1. Assessment Fees 2. Federal Express / Local Courier, etc. 3. Postage Charges 4. In-House Photocopying 5. Outside Photocopying 6. Hotels 7. Meals 8. Mileage 9. Air Travel 10. Deposition Costs
11. Lexis/Westlaw 12. Court Fees 13. Witness / Expert Fees 14. Investigation Fees / Service Fees 15. Transcripts 16. Ground Transportation (i.e. Rental, Taxis, etc.) 17. Miscellaneous (Describe)




                                                 Category                                                                                   Co-Lead Counsel Who                          Receipt Provided:
  Last Name, First Name           Date            Code                                   Detailed Description                               Assigned Or Approved          Amount        Yes/No (if no, provide
                                                                                                                                                    Work                                      reason)




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